
In re Smith, Lester; — Plaintiff(s); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “F”, No. 317-192; to the Court of Appeal, Fourth Circuit, No. 9KW-1040.
Writ granted. Relator moved the district court under LSA-C.Cr.P. art. 882 to correct an illegally lenient sentence and the district court denied the motion as untimely pursuant to LSA-C.Cr.P. art. 930.8(A). However, the timeliness provisions of C.Cr.P. art. 930.8(A) apply to applications for post-conviction relief made under La.C.Cr.P. arts. 924-930.8, and do not apply to motions to correct illegal sentences made under La.C.Cr.P. art. 882, which states that illegal sentences “may be corrected at any time.” State ex rel. Johnson v. Day, 637 So.2d 1062 (La.1994); cf. State v. Johnson, 220 La. 64, 55 So.2d 782 (1951). The district court is therefore ordered to address the merits of relator’s claims.
DENNIS, J., not on panel.
